                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )       No. 3:11-00112-3
                                           )       Judge Sharp
ADAM YATES                                 )

                                           ORDER

       Defendant has filed a Motion for Early Termination of Probation (Docket No. 118). The

Government has filed no response in opposition to this Motion. Having considered the record and

all of the relevant factors under 18 U.S.C. 3553(a) as required by 18 U.S.C. 3583(e), the Court

hereby GRANTS Defendant’s Motion. With that ruling, Defendant’s prior-filed Motion for Early

Termination of Special Conditions of Probations (Docket No. 117) is MOOT.

       Defendant is hereby DISCHARGED from any further probation supervision. and this case

is hereby closed.

       It is SO ORDERED.




                                                   ____________________________________
                                                   KEVIN H. SHARP
                                                   UNITED STATES DISTRICT JUDGE




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